Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 1 of 35




            EXHIBIT D
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 2 of 35



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20                                 UNITED STATES DISTRICT COURT

21                            NORTHERN DISTRICT OF CALIFORNIA

22                                    SAN FRANCISCO DIVISION

23   ORACLE AMERICA, INC.                              Case No. CV 10-03561 WHA
24                    Plaintiff,                       PLAINTIFF’S SUPPLEMENTAL
                                                       RESPONSES TO DEFENDANT’S
25          v.                                         INTERROGATORIES, SET NO. 1
                                                       (INTERROGATORY NOS. 1-10)
26   GOOGLE INC.
                                                       MAY CONTAIN GOOGLE HIGHLY
27                    Defendant.                       CONFIDENTIAL – ATTORNEYS’
                                                       EYES ONLY INFORMATION
28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 3 of 35



 1   PROPOUNDING PARTY:               Defendant Google Inc.
 2   RESPONDING PARTY:                Plaintiff Oracle America, Inc.
 3   SET NO.:                         One (Interrogatories 1-10)
 4             Pursuant to Rules 26 and 33 of Federal Rules of Civil Procedure, Plaintiff Oracle
 5   America, Inc. (“Oracle”) hereby submits the following supplemental responses and objections to
 6   Defendant Google Inc.’s (“Google”) First Set of Interrogatories.
 7   INTERROGATORY NO. 1:
 8             State in detail Oracle’s factual bases for each allegation of damage or harm that Oracle
 9   claims to have suffered as a result of any act or omission of Google.
10   FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 1:
11             As Oracle’s damages and harm contentions are subject to ongoing discovery and expert
12   analysis, Oracle objects to this interrogatory as premature. Oracle has not yet completed its
13   investigation of the documents and facts relevant to the claims and defenses asserted in this
14   action, and has not received all relevant documents and information from Google or third parties.
15   Accordingly, Oracle’s responses are based on the information reasonably available at this time
16   and Oracle will supplement this response as appropriate under the Federal Rules of Civil
17   Procedure. Subject to these objections, Oracle responds as follows:
18             Oracle is entitled to all legal, statutory, and equitable remedies available. This potentially
19   includes, for example, damages in the form of lost profits Oracle would have made without the
20   infringement, the value of or a reasonable royalty for a license for the rights infringed, and
21   disgorgement of profits made by Google that are attributable to the infringement. The relevant
22   factual inquiries are with respect to past and future damages on a worldwide basis. In addition,
23   because Google’s infringement has been willful and intentional, Oracle is entitled to recover
24   treble damages, pursuant to 35 U.S.C. § 284. Oracle is also entitled to recover the costs of suit,
25   prejudgment interest, and attorney’s fees under 35 U.S.C. § 285. Oracle also seeks injunctive
26   relief.
27             The factual basis for recovery of the value of the infringed intellectual property includes
28   evidence that a reasonable royalty a willing buyer would have been reasonably required to pay a
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                               1
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 4 of 35



 1   willing seller in a hypothetical negotiation for a license to the infringed property at the time of the
 2   infringement would have been substantial. These facts include, for example:
 3          •   A significant licensing history for Java and other patents and software showed that
 4              substantial royalties were necessary to protect Oracle’s and Sun’s business model and
 5              marketing program for Java, including the importance of preventing fragmentation of
 6              Java, and Google was aware of Java licensing practices and the importance of
 7              preventing fragmentation to Sun and Oracle;
 8          •   Oracle and/or Sun invested significant sums to obtain, develop and improve the
 9              intellectual property at issue as well as Java more generally;
10          •   Java technologies, including notably the patents and copyrights in suit, had substantial
11              value, as reflected, for example, by Oracle’s proposal in March 2009 to buy Java and
12              other software assets from Sun for more than $2 billion and Oracle’s eventual
13              acquisition of Sun for $7.4 billion;
14          •   Protecting Java and related or ancillary products and services from fragmentation was
15              extremely valuable to Sun and Oracle;
16          •   Java and the patented technologies represented and represent significant advantages
17              over alternative development platforms and technologies and therefore had
18              tremendous value to Oracle and Sun, including in the mobile space;
19          •   Google recognized the value of Java and the patented and copyrighted technologies at
20              issue, both independently and as part of Android, and recognized the need for a license
21              to use the Java technologies in any mobile platform;
22          •   Launching Android was of significant strategic and financial value to Google,
23              including by enabling Google to respond to the threat posed by other mobile platforms
24              to Google’s existing and anticipated revenues;
25          •   Java and the infringed technologies were extremely important to Google in terms of
26              meeting its strategic goals of quickly developing and launching a mobile platform and
27              building a broad base of developers for that platform;
28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                             2
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 5 of 35



 1         •   Google expected that Android would be widely adopted, and used of the infringing
 2             technology to ensure widespread distribution of Google ad and application services;
 3         •   Google expected to earn and has earned large amounts as a consequence of using the
 4             infringed intellectual property in Android, including by planning to use using Android
 5             (and the infringed intellectual property) to promote sales and licensing of other Google
 6             products, such as search and advertising, and reap revenue from third-party
 7             development and other sources;
 8         •   Google avoided paying and expects to avoid paying substantial amounts to
 9             manufacturers and others as a consequence of using the infringed intellectual property
10             in Android, such as any revenue sharing payments that would otherwise have been
11             made by Google to handset manufacturers but for Android;
12         •   Using the infringed intellectual property in Android provided strategic benefits to
13             Google, including the benefit of obtaining control over Google’s own destiny in
14             mobile-based advertising and other applications and services and the reinforcement of
15             Google’s dominant position in online advertising across platforms and computing
16             environments;
17         •   Significant network effects resulted and were expected from the infringement for both
18             Oracle and Google, including the adverse impact of Android (and the infringement) on
19             the Java brand, the perceived and actual value of Java technology, and the Java
20             ecosystem, and the positive impact of Android on reinforcement of the value of
21             Google’s existing position in search, advertising and other markets;
22         •   Google would have earned significantly less in the absence of the infringement,
23             including but not limited to the mobile space, as compared to the amounts that Google
24             expected to earn and currently earns in connection with and as a result of the
25             infringement;
26         •   Google has obtained licenses for other intellectual property;
27         •   Reasonable non-infringing alternatives were unavailable, not viable, and/or extremely
28             costly to Google;
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                       3
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 6 of 35



 1         •   Google avoided significant costs as a consequence of the infringement;
 2         •   The patented technologies and copyrighted materials were extremely important to
 3             Google as compared to any reasonable non-infringing alternatives;
 4         •   Oracle and Google were and could be expected to be competitors in the provision of
 5             platform software for mobile and other devices;
 6         •   Sun and Oracle extensively and repeatedly discussed financial and other terms of a
 7             license and terms for development of a compatible mobile platform or Android,
 8             including terms relating to the payment of royalties;
 9         •   Sun expected that it would earn substantial revenues in connection with a compatible
10             mobile platform, particularly as compared to the incompatible Android platform;
11         •   Sun expected that it would lose substantial revenues from the distribution of a mobile
12             platform incorporating the infringed technologies, and these losses would be
13             particularly high if the platform was incompatible with Java;
14         •   Oracle and Sun made clear to Google that Android, even if compatible with Java,
15             would put Java revenue at risk;
16         •   Google knowingly infringed the Sun/Oracle IP, and therefore put its entire investment
17             in Android and its reputation on the line;
18         •   The value (both absolutely and as a portion or component of Android) of the
19             intellectual property at issue was significant, and that property has a substantial
20             remaining economic life;
21         •   Oracle and Google both had strategies for realizing economic return, including
22             licenses, relating to the infringement;
23         •   Sun and Oracle expected substantial losses, and have in fact incurred losses, as a
24             consequence of the infringement, and Google understood the likelihood of those
25             expected and actual losses, including loss of Java licensing and ancillary revenue
26             opportunities, price or royalty erosion, reduction in market opportunities in markets
27             for Oracle’s Java-related products, and other losses as a direct or indirect consequence
28             of demand for and Google’s distribution of Android; and
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                          4
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 7 of 35



 1           •   There was significant actual and expected demand for mobile and other devices using
 2               Android.
 3   A variety of documents showing the facts above have been produced in discovery or are publicly
 4   available.1 Google’s initial deposition testimony also supports a number of these facts.2 Others
 5   will be the subject of testimony by Oracle witnesses disclosed in Oracle’s initial disclosures, and
 6   still others may be the subject of third party testimony. Some of the evidence of these facts, as
 7   well as evidence of other relevant factors about which Oracle does not yet know, is uniquely
 8   within Google’s and others’ possession. Google has made public statements regarding some of
 9   these facts, including for example the success of distribution of Android, Google’s expectation of
10   revenue therefrom, and the profitability thereof.3
11           The factual basis for a claim for recovery of Google’s profits attributable to the
12   infringement also includes, for example: (1) the fact that Google has a business model for
13
     1
       See, e.g., GOOGLE-01-00017250; GOOGLE-14-00001233; GOOGLE-01-00017299; GOOGLE-01-00017315;
14   GOOGLE-01-00019529; GOOGLE-01-00019527; GOOGLE-01-00025576; GOOGLE-01-00023102; GOOGLE-01-
     00053552; OAGOOGLE0000357494; OAGOOGLE0000140115; OAGOOGLE0000139561; Java licenses produced
15   at OAGOOGLE0000052860-OAGOOGLE0100062852; Sun-Microsoft agreements available at
     http://www.sec.gov/Archives/edgar/data/709519/000119312504155723/0001193125-04-155723-index.htm.
16   2
       See, e.g., April 5, 2011 Rule 30(b)(6) Deposition.
     3
17     For example:
         •   Google CEO Eric Schmidt was recently reported to note that “Google is positioning itself to earn $10 billion
18           or more per year in the mobile device business, thanks to its Android operating system,” see Wall Street
             Journal, July 28, 2010 (available at http://blogs.wsj.com/digits/2010/07/28/eric-schmidt-on-
19           google%E2%80%99s-next-tricks/);

20       •   Google’s Andy Rubin recently stated that activation of Android devices has reached 300,000 per day, see
             Wall Street Journal, December 9, 2010 (available at http://blogs.wsj.com/digits/2010/12/09/google-more-
             than-300000-android-phones-activated-each-day/);
21
         •   It was reported in December 2010 that “Google executives said the company was on track to generate $1
22           billion annually in mobile-related revenue,” see Wall Street Journal, “Google to Release new ‘Nexus’
             Phone,” December 7, 2010 (available at
23           http://online.wsj.com/article/SB10001424052748704156304576003454213544140.html);
         •   Google’s CEO Eric Schmidt has been reported as stating that “Android-based phones already generate
24           enough new advertising revenue to cover the cost of the software’s development”; Newsweek, “Android
             Invasion,” October 3, 2010 , at 3 (available at http://www.newsweek.com/2010/10/03/how-android-is-
25           transforming-mobile-computing.html)

26       •   Mr. Schmidt has also been reported as stating: “Trust me that revenue is large enough to pay for all of the
             Android activities and a whole bunch more.” International Business Times,, “Does Google Have an
27           Android Revenue-Model?,” August 10, 2010 (available at
             http://www.fool.com/investing/general/2010/08/10/does-google-have-an-android-revenue-model.aspx).
28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                             5
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 8 of 35



 1   realizing substantial revenue from Android, including, at a minimum, revenue and gross profits
 2   from the sale or licensing of Android-compatible applications,4 developer access to Google
 3   resources or accounts,5 and Google mobile search, location services, advertising, and other
 4   services6 (in addition to other Android-related revenue and profit streams obtained by third-party
 5   application developers, device manufacturers and others); (2) the fact that Google has realized
 6   substantial revenue as a result of the infringement; (3) the fact that that Google has a strategic
 7   goal of ensuring that it is not dependent on third party (particularly competitor) platforms for
 8   success in the mobile environment, including losses or reductions in revenue Google did and does
 9   not incur because it was able to avoid certain challenges to its core businesses;7 (4) the fact that
10   Google has experienced significant benefits in its preexisting application and service businesses
11   as a result of the success of Android and because of the infringement; and (5) the fact that Google
12   avoided costs as a consequence of the infringement, including costs of developing or acquiring
13   non-infringing alternatives (to the extent they existed or exist), either within or outside the Java
14   context, that would have enabled Google to achieve its revenue and strategic objectives. Much of
15   the evidence of these facts, as well as evidence of other relevant factors about which Oracle does
16   not yet know, is uniquely within Google’s possession.
17            In addition to the above, the factual basis for a claim for recovery of Oracle’s lost profits
18   (both with respect to diverted or lost revenues and profits and loss of ancillary, convoyed or other
19   opportunities) includes, for example: (1) the fact that Sun and Oracle have had business plans for
20
     4
21     See, e.g., Mobile Entertainment, “Mobile Entertainment’s Guide to Android,” May 2010 (available at
     http://www.androidtapp.com/android-growth-statistics-projections/) (presenting projections and assumptions on
22   growth and average pricing of, and revenue from, Android applications).
     5
      See, e.g., Pocketnow.com, “How Does Google Make Money with Android?,” October 3, 2010 (available at
23   http://pocketnow.com/android/how-does-google-make-money-with-android).
     6
24     See, e.g., Wall Street Journal, “Google Executive Says Local Advertising Is Top Focus,” December 7, 2010
     (available at http://blogs.wsj.com/digits/2010/12/07/google-executive-says-local-advertising-is-top-focus/)
25   (statements regarding success and growth of Google’s mobile advertising business).
     7
       For example, as Google reported in a recent public filing, “More individuals are using devices other than personal
26   computers to access the internet. If users of these devices do not widely adopt versions of our web search technology,
     products, or operating systems developed for these devices, our business could be adversely affected." Google Form
27   10Q for the period ended September 30, 2010, p. 46 (available at
     http://investor.google.com/documents/20100930_google_10Q.html).
28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                           6
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 9 of 35



 1   Java that are and have been premised in significant part on preventing or minimizing “forks” in
 2   Java and developing and maintaining a wide base of use by both programmers and end users; (2)
 3   the fact that Sun and Oracle have lost and will lose significant Java licensing opportunities,
 4   suffered and will suffer price and royalty erosion, experienced and will experience reduction in
 5   market opportunities in markets for Oracle’s Java-related products and services, and have
 6   suffered and will suffer other losses as a direct or indirect consequence of demand for and
 7   Google’s distribution of Android; (3) the fact that the infringement has had and will have
 8   significant adverse impact on the Java brand, on the perceived and actual value of the Java
 9   technology, and the Java development community; (4) the fact that Sun and Oracle have lost and
10   will lose cross-sell and up-sell opportunities based on the ability to use either Java or a mobile
11   platform to promote other Oracle products and services; (5) the fact that Sun and Oracle have
12   incurred and will incur additional costs to undo the damage caused by the infringement; and (6)
13   Sun and Oracle have suffered and will suffer harm to their reputation and goodwill, including loss
14   in value to the reputation and brand value of Java. Google itself recognizes the value and
15   importance of avoiding fragmentation of software platforms, including Android.8 Oracle’s Java
16   technology has generated significant revenue for Sun and Oracle, much of it related to high-
17   margin licensing, application sales, and other revenue opportunities in the mobile environment
18   and elsewhere that have been and continue to be diminished by Google’s infringement of
19   Oracle’s Java patents and copyrights.
20            In addition to many of the items described above, the factual basis for Oracle’s claim of
21   irreparable harm includes, for example:
22

23
     8
       See, e.g., Ars Tecnica, “Google: carriers should give Android users freedom to unlock bootloader,” December 2010
24   (available at http://arstechnica.com/gadgets/news/2010/12/google-carriers-should-give-android-users-freedom-to-
     unlock-bootloader.ars) (“Google has very effectively used its exclusive control over the Android Market and Google-
25   branded applications as a means of forcing most of the carriers and handset makers to refrain from fragmenting the
     platform. . . .”); Newsweek, “Android Invasion,” October 3, 2010, at 4 (available at
26   http://www.newsweek.com/2010/10/03/how-android-is-transforming-mobile-computing.html) (“Such fragmentation
     has been the Achilles’ heel of every open-source project. To counter it, Rubin and his team have created a
27   compatibility test suite, a list of things a phone must have in order to carry the Android brand and to run applications
     like Google Maps.”).
28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                             7
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 10 of 35



 1           •   Oracle practices the copyrights and patents in suit in its own Java-related products and
 2               authorizes others to practice them through its Java licensing program.
 3           •   Google has violated Oracle’s exclusive rights to practice and to authorize others to
 4               practice the copyrights and patents.
 5           •   Google’s infringement depresses the market for Oracle’s Java-related products and
 6               causes Oracle customers to question the value of their Java licenses, damaging the
 7               goodwill associated with Oracle’s Java products and brand.
 8           •   Google’s infringement has caused fragmentation, including through the fact that
 9               Android runs an unauthorized version of various Java libraries (Apache Harmony),
10               thereby causing confusion among software developers. Particularly in light of
11               Android’s popularity, Oracle is irreparably harmed each time a programmer learns and
12               practices Android over Java.
13           •   Google’s infringement impedes the growth of a Java applications market that would
14               fuel demand for authorized Java and Java-related products, causing further loss of
15               market share.
16           The foregoing answer supplements Oracle’s initial disclosures pursuant to Fed. R. Civ.
17   Proc. 26(a)(1) and its previous response to this interrogatory. The information provided in this
18   supplemental response is subject to theories and additional factual support to be set forth in any
19   expert reports. In light of the date specified by the Court for disclosure of affirmative expert
20   reports on damages, Oracle notes that because significant evidence relating to Oracle’s damages
21   claims—including, for example, disgorgement of Google’s profits from the infringement,
22   Google’s expectations as to the value of the infringed intellectual property, and the appropriate
23   amount of damages corresponding to Google’s willful infringement—is in Google’s possession,
24   timely production of information and documents relating to damages by Google will be necessary
25   in order for Oracle’s experts to be able to provide detailed quantifications of Oracle’s damages in
26   their initial reports.
27

28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                            8
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 11 of 35



 1   INTERROGATORY NO. 2:

 2           State in detail Oracle’s factual bases for its claim of direct copyright infringement,

 3   specifically including a comparison of each element of Java software, including without

 4   limitation any class libraries, API packages, method names, class names, definitions,

 5   organizational elements, parameters, structural elements, and documentation, to the

 6   corresponding Android element, as Oracle did in Exhibit J to its Amended Complaint.

 7   FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 2:

 8           Oracle owns many copyrights in the code, documentation, specifications, libraries, and

 9   other materials that comprise the Java platform. As new versions of the Java platform were

10   developed and the materials revised, the copyrights were registered with the United States

11   Copyright Office, including TX0004416302; TX0004326014; TX0004616088; TX0005271787;

12   TX0005316757; TX0005316758; TX0005359984; TX0005359985; TX0005359986;

13   TX0005359987; TX0005392885; TX0006066538; TX0006143306; and TX0006196514. Google

14   has infringed Oracle’s copyrights.

15           Android Application Programmer Interface (API) package specifications (whether or not

16   from the Apache Harmony project) that correspond to Oracle’s Java API specifications are

17   unauthorized derivative work, and Google’s unauthorized copying and distribution of them is

18   copyright infringement. A comparison of Android’s API package specifications (available at

19   http://developer.android.com/reference/packages.html) with Oracle’s copyrighted Java API

20   package specifications (for example, available at

21   http://download.oracle.com/javase/1.5.0/docs/api/,

22   http://download.oracle.com/javase/1.4.2/docs/api/, and

23   http://download.oracle.com/javase/1.3/docs/api/)9 demonstrates that the following Android

24   package specifications are derived from or substantially similar to Oracle’s copyrighted Java API

25   package specifications:

26
             9
                Oracle’s copyright infringement claim applies to all versions of Oracle’s Java API specifications and
27   reference implementations from which Android derives, which include J2SE 1.2, J2SE 1.3, J2SE 1.4, and J2SE 5.0.

28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                          9
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 12 of 35



 1         1.    java.awt.font
 2         2.    java.beans
 3         3.    java.io
 4         4.    java.lang
 5         5.    java.lang.annotation
 6         6.    java.lang.ref
 7         7.    java.lang.reflect
 8         8.    java.math
 9         9.    java.net
10         10.   java.nio
11         11.   java.nio.channels
12         12.   java.nio.channels.spi
13         13.   java.nio.charset
14         14.   java.nio.charset.spi
15         15.   java.security
16         16.   java.security.acl
17         17.   java.security.cert
18         18.   java.security.interfaces
19         19.   java.security.spec
20         20.   java.sql
21         21.   java.text
22         22.   java.util
23         23.   java.util.jar
24         24.   java.util.logging
25         25.   java.util.prefs
26         26.   java.util.regex
27         27.   java.util.zip
28         28.   javax.crypto
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10   10
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 13 of 35



 1           29.      javax.crypto.interfaces
 2           30.      javax.crypto.spec
 3           31.      javax.net
 4           32.      javax.net.ssl
 5           33.      javax.security.auth
 6           34.      javax.security.auth.callback
 7           35.      javax.security.auth.login
 8           36.      javax.security.auth.x500
 9           37.      javax.security.cert
10           38.      javax.sql
11           39.      javax.xml
12           40.      javax.xml.datatype
13           41.      javax.xml.namespace
14           42.      javax.xml.parsers
15           43.      javax.xml.transform
16           44.      javax.xml.transform.dom
17           45.      javax.xml.transform.sax
18           46.      javax.xml.transform.stream
19           47.      javax.xml.validation
20           48.      javax.xml.xpath
21           Some Android package API specifications are substantially similar to selected portions of
22   some of the Oracle Java API package specifications (e.g., java.awt.font, java.beans) while other
23   Android package API specifications are substantially similar to complete portions of other Oracle
24   Java API package specifications (e.g., java.io, java.lang, java.net, java.nio, java.security, java.sql,
25   java.text). Exhibits A-E are illustrative examples.10
26
             10
                  The illustrative examples are taken from http://download.oracle.com/javase/1.5.0/docs/api/ and
27   http://developer.android.com/reference/packages.html.

28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                     11
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 14 of 35



 1            The Android source and object code (whether or not from the Apache Harmony project)
 2   that purports to implement Oracle’s Java API specifications is unauthorized derivative work, and
 3   Google’s unauthorized copying and distribution of it is copyright infringement. See, e.g., “What
 4   is Android?” (available at http://developer.android.com/guide/basics/what-is-android.html
 5   (“Android includes a set of core libraries that provides most of the functionality available in the
 6   core libraries of the Java programming language.”)); Package Index (available at
 7   http://developer.android.com/reference/packages.html), including those API packages listed
 8   above, and subsidiary webpages; and source code and documentation files available in:11
 9   For Android 2.2 (“Froyo”):
10            •        dalvik\libcore\security\src\main\java\java\security;
11            •        dalvik\libcore\security\src\main\java\javax\security\cert;
12            •        dalvik\libcore\security\src\main\java\org\apache\harmony\security;
13            •        dalvik\libcore\math\src\main\java\java\math;
14            •        dalvik\libcore\math\src\main\java\org\apache\harmony\math;
15            •        dalvik\libcore\luni\src\main\java\java;
16            •        dalvik\libcore\luni\src\main\java\org\apache\harmony\luni;
17            •        dalvik\libcore\luni-kernel\src\main\java\java\lang;
18            •        dalvik\libcore\luni-kernel\src\main\java\org\apache\harmony\kernel;
19            •        dalvik\libcore\luni-kernel\src\main\java\org\apache\harmony\lang;
20            •        dalvik\libcore\nio\src\main\java\java.
21   For Android 2.3 (“Gingerbread”):
22            •        libcore\luni\src\main\java\java\security;
23            •        libcore\luni\src\main\java\javax\security\cert;
24            11
                  Google continues to modify the source code available through http://android.git.kernel.org. Such changes
     are subject to the discovery Oracle has propounded on Google. In any event, the cited source code examples are
25   taken from http://android.git.kernel.org/. The citations are shortened and mirror the file paths shown in
     http://android.git.kernel.org/. For example, “dalvik\vm\native\InternalNative.c” maps to “[platform/dalvik.git] / vm /
26   native / InternalNative.c” (accessible at
     http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/native/InternalNative.c) before modification by
27   Google.

28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                         12
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 15 of 35



 1          •       libcore\luni\src\main\java\org\apache\harmony\security;
 2          •       libcore\luni\src\main\java\java\math;
 3          •       libcore\luni\src\main\java\java;
 4          •       libcore\luni\src\main\java\org\apache\harmony\luni;
 5          •       libcore\luni\src\main\java\java\lang;
 6          •       libcore\luni\src\main\java\org\apache\harmony\kernel;
 7          •       libcore\luni\src\main\java\org\apache\harmony\lang;
 8          •       libcore\luni\src\main\java\java\nio.
 9          Google has created and distributed infringing works written in native code, in addition to
10   Java code, that derive from Oracle’s copyrighted works. For example, Google makes and
11   distributes dalvik\vm\native\java_lang_Class.c, which is based on Oracle’s java.lang.Class
12   specification. Other examples include:
13          •       dalvik\vm\native\java_lang_Object.c
14          •       dalvik\vm\native\java_lang_reflect_AccessibleObject.c;
15          •       dalvik\vm\native\java_lang_reflect_Array.c;
16          •       dalvik\vm\native\java_lang_reflect_Constructor.c;
17          •       dalvik\vm\native\java_lang_reflect_Field.c;
18          •       dalvik\vm\native\java_lang_reflect_Method.c;
19          •       dalvik\vm\native\java_lang_reflect_Proxy.c;
20          •       dalvik\vm\native\java_lang_Runtime.c;
21          •       dalvik\vm\native\java_lang_String.c;
22          •       dalvik\vm\native\java_lang_System.c;
23          •       dalvik\vm\native\java_lang_Throwable.c;
24          •       dalvik\vm\native\java_lang_VMClassLoader.c;
25          •       dalvik\vm\native\java_lang_VMThread.c; and
26          •       dalvik\vm\native\java_security_AccessController.c.
27          See also, e.g., source code files in libcore\luni\src\main\native; libcore\luni-
28   kernel\src\main\native.
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                       13
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 16 of 35



 1          Google’s Android videos directly reference inclusion of Java libraries in Android, e.g.:
 2          •       Google Presentation, entitled “Android: Securing a Mobile Platform from the
 3   Ground Up,” presented by Rich Cannings (Google’s Android Team) at the Usenix 18th Security
 4   Symposium (Aug. 12, 2010), available at http://www.usenix.org/events/sec09/tech/.
 5          •       Google I/O 2010 Video, entitled “A JIT Compiler for Android’s Dalvik VM,”
 6   presented by Ben Cheng and Bill Buzbee (Google’s Android Team), available at
 7   http://developer.android.com/videos/index.html#v=Ls0tM-c4Vfo.
 8          •       Google I/O 2008 Video, entitled “Dalvik Virtual Machine Internals,” presented by
 9   Dan Bornstein (Google Android Project), available at
10   http://developer.android.com/videos/index.html#v=ptjedOZEXPM.
11          Moreover, Google admits that Android incorporates a subset of Apache Harmony, which
12   it asserts is “an implementation of Sun’s Java.” (See, e.g., Google’s Amended Counterclaims
13   ¶¶ 6-7, 13.)
14          Google has distributed by way of Android and Android-related websites source and object
15   code derived from or substantially similar to Oracle’s source code or to decompiled Oracle object
16   code, including:
17          •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Acl
18              EntryImpl.java
19          •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Acl
20              Impl.java
21          •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Gro
22              upImpl.java
23          •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Ow
24              nerImpl.java
25          •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Per
26              missionImpl.java
27          •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Pri
28              ncipalImpl.java
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                         14
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 17 of 35



 1          •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/cert/Po
 2              licyNodeImpl.java
 3          •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Acl
 4              Enumerator.java (which was obtained by decompiling Oracle’s
 5              /sun/security/acl/AclEnumerator.class)
 6          •   /dalvik/libcore/luni/src/main/java/java/util/TimSort.java contains a method,
 7              rangeCheck, copied from Oracle’s java/util/Arrays.java
 8          •   /dalvik/libcore/luni/src/main/java/java/util/ComparableTimSort.java contains a
 9              method, rangeCheck, copied from Oracle’s java/util/Arrays.java
10          •   /dalvik/libcore/security/src/test/java/org/apache/harmony/security/tests/java/security/C
11              odeSourceTest.java contains comments copied from Oracle’s
12              /java/security/CodeSource.java
13          •   /dalvik/libcore/security/src/test/java/tests/security/cert/CollectionCertStoreParameters
14              Test.java contains comments copied from Oracle’s
15              /java/security/cert/CollectionCertStoreParameters.java
16          Additional supporting evidence of Google’s copyright infringement can be found at, e.g.,
17   GOOGLE-00296156-75; GOOGLE-00296453-60; GOOGLE-00296959-61; GOOGLE-
18   00296500-03; GOOGLE-00296507; GOOGLE-00297265; GOOGLE-00297033-38, GOOGLE-
19   00297252-57, GOOGLE-00297361-65 and similar questionnaires signed by other developers;
20   GOOGLE-00296203-07; GOOGLE-00296498-99; GOOGLE-00296523-24; GOOGLE-
21   00296525-26; GOOGLE-00297075-76; GOOGLE-00392221-24; GOOGLE-00392197;
22   GOOGLE-00392204-12; GOOGLE-00392198-203; GOOGLE-00392213-16; GOOGLE-
23   00392183-94; GOOGLE-00392181-82; GOOGLE-00392178-80; GOOGLE-02-00081462;
24   GOOGLE-03-00075095; GOOGLE-01-00029843-45; GOOGLE-01-00026813; GOOGLE-02-
25   00018744; GOOGLE-01-00025454; GOOGLE-01-00023889.
26          Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
27   and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                        15
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 18 of 35



 1   responses are based on the information reasonably available at this time and Oracle will
 2   supplement this response as appropriate under the Federal Rules of Civil Procedure.
 3   INTERROGATORY NO. 3:
 4          State in detail Oracle’s factual bases for each element of indirect copyright infringement,
 5   specifically including an identification of any direct infringement and a description of the acts of
 6   the alleged indirect infringer that contribute to or are inducing that direct infringement.
 7   FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 3:
 8          The factual bases for Oracle’s indirect copyright infringement claim include facts
 9   demonstrating Google’s direct infringement (discussed in response to Interrogatory Nos. 2 and 6);
10   facts demonstrating that Google’s infringement was done with knowledge of Oracle’s copyrights
11   (discussed in response to Interrogatory No. 4); and facts demonstrating that users of the Android
12   Platform must copy and use portions of the Java Platform to manufacture and distribute Android
13   devices (discussed in response to Interrogatory No. 7). Google actively and explicitly encourages
14   the widespread adoption and implementation of the Android Platform by device manufacturers,
15   service providers, software companies, and application developers. See, e.g.,
16   developer.android.com. Google distributes the Android Platform through the Open Handset
17   Alliance and the Android Open Source Project with the express purpose of encouraging a broad
18   deployment of handsets and services using the Android Platform. See, e.g.,
19   openhandsetalliance.com.
20          Google intends for device manufacturers to use and copy the code from its repository
21   without modification. Manufacturers must execute Google’s Compatibility Test Suite (CTS) for
22   Google to certify their devices as “Android Compatible.” See GOOGLE-00296158. To ensure
23   they pass the test, “[d]evice implementers are strongly encouraged to base their implementations
24   on the ‘upstream’ source code available from the Android Open Source Project” Id. Moreover,
25   “[t]o ensure compatibility with third-party applications, device implementers MUST NOT make
26   any prohibited modifications . . . to these package namespaces: java.*; javax.*; sun.*; android.*;
27   com.android. . . . . Device implementers MAY modify the underlying implementation of the
28
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                          16
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 19 of 35



 1   APIs, but such modifications MUST NOT impact the stated behavior and Java-language
 2   signature of any publicly exposed APIs.” GOOGLE-00296163.
 3          BEGIN GOOGLE HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
 4          Examples of Google’s contracts with handset manufacturers requiring that their products
 5   pass the CTS can be found at GOOGLE-00393175-86; GOOGLE-00393210-22; and GOOGLE-
 6   00393223-38.
 7          END GOOGLE HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
 8          As Google intended, Android software and Android-based devices have in fact been
 9   distributed by manufacturers and resellers, and copied, distributed, and supported by service
10   providers and application developers.
11          Additional supporting evidence of Google’s indirect copyright infringement can be found
12   at, e.g., GOOGLE-00296523-24; GOOGLE-00297404; GOOGLE-00297553-55; GOOGLE-
13   00300616-85; GOOGLE-00296389-99; GOOGLE-00296482-83; GOOGLE-00296156-75; and
14   GOOGLE-00392673-00393063.
15          Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
16   and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
17   responses are based on the information reasonably available at this time and Oracle will
18   supplement this response as appropriate under the Federal Rules of Civil Procedure.
19   INTERROGATORY NO. 4:
20          State in detail Oracle’s factual bases for its claims that any copyright infringement by
21   Google (or for which Oracle claims Google is liable) was willful.
22   FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 4:
23          Google has willfully infringed the copyrights in suit, which protect the Java Platform
24   source code and documentation. Many factors reveal that Google had knowledge that its actions
25   constituted copyright infringement or acted with reckless disregard for Oracle’s rights. These
26   factors include:
27          •       Google is a member of the Java Community Process (JCP) and has a seat on the
28   Java SE/EE Executive Committee. See Java Community Process homepage, available at
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                         17
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 20 of 35



 1   http://www.jcp.org/en/participation/committee. Through its participation in the JCP, Google is
 2   well aware of the need to obtain a license from Oracle in order to make use of Oracle’s Java
 3   Platform technologies. Google’s admissions in its Amended Counterclaims prove this awareness.
 4   (See, e.g., Google’s Amended Counterclaims ¶¶ 6-7, 13.)
 5          •      Former Oracle (Sun) employees having knowledge of the Java Platform have been
 6   or are now employed by Google. Their knowledge is attributable to Google. The nature and
 7   extent of such employees’ involvement in the development of Android is the subject of current
 8   outstanding Oracle discovery requests.
 9          •      Andy Rubin, Google’s VP of Mobile Platforms, previously worked at Danger,
10   Inc., which he founded. He understood the need to obtain a license from Oracle (then Sun) to use
11   Java Platform technologies in Danger’s Hiptop operating system, and Danger did obtain a
12   commercial license. When Rubin left Danger and founded Android, Inc., he approached Sun
13   about obtaining a commercial license to Java Platform technologies on behalf of Android, Inc.
14   Those discussions ended without Android having obtained a commercial license. Rubin’s
15   knowledge is attributable to Google.
16          •      Google has consistently resisted taking a license from Sun for Sun’s copyrighted
17   Java Platform technologies.
18          •      In copying Oracle’s Java Platform technologies, Google deliberately disregarded a
19   known risk that Oracle held copyrights covering Java Platform technologies.
20          •      Google’s Android source code and documentation directly reference and copy
21   Java Platform technology specifications, documentation, and source code. See, e.g.,
22   dalvik\libcore\security\src\main\java\java\security\CodeSource.java (Froyo version);
23   dalvik\libcore\support\src\test\java\org\apache\harmony\security\tests\support\cert\PoicyNodeImp
24   l.java (Froyo version). Google admits that Android incorporates a subset of Apache Harmony,
25   which it asserts is “an implementation of Sun’s Java.” (See, e.g., Google’s Amended
26   Counterclaims ¶¶ 6-7, 13.)
27          •      Google’s website content directly references and demonstrates use of Java
28   Platform technologies. See, e.g., “What is Android?”, available at
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                        18
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 21 of 35



 1   http://developer.android.com/guide/basics/what-is-android.html (“Android includes a set of core
 2   libraries that provides most of the functionality available in the core libraries of the Java
 3   programming language.”); Package Index, available at
 4   http://developer.android.com/reference/packages.html, and subsidiary webpages.
 5          •       Google’s Android videos directly reference and demonstrate use of Java Platform
 6   technologies. See, e.g., Google I/O 2008 Video entitled “Dalvik Virtual Machine Internals,”
 7   presented by Dan Bornstein (Google), available at
 8   http://developer.android.com/videos/index.html#v=ptjedOZEXPM.
 9          •       Oracle’s Java specifications bear copyright notices identifying them as being
10   Oracle’s copyrighted works, as well as legends notifying the public that the technologies
11   described may be protected by Oracle’s patents: “The release described in this manual may be
12   protected by one or more U.S. patents, foreign patents, or pending applications.” See, e.g., Java
13   Application Programming Interface, Vol. 1 Core Packages (“© 1996 Sun Microsystems, Inc.”);
14   The Java Language Specification (“© 1996 Sun Microsystems, Inc.”). Google and its employees
15   were on notice of Oracle’s proprietary rights before and during the development of Android.
16          Additional supporting evidence of Google’s willful copyright infringement can be found
17   at, e.g., GOOGLE-00248372; GOOGLE-00296156-75; GOOGLE-00296959-61; GOOGLE-
18   00296500-03; GOOGLE-00296507; GOOGLE-00297265; GOOGLE-00297033-38, GOOGLE-
19   00297252-57, GOOGLE-00297361-65 and similar questionnaires signed by other developers;
20   GOOGLE-00296203-07; GOOGLE-00296498-99; GOOGLE-00296523-24; GOOGLE-
21   00296525-26; GOOGLE-00297075-76; GOOGLE-00392221-24; GOOGLE-00392204-12;
22   GOOGLE-00392198-203; GOOGLE-00392213-16; GOOGLE-00392183-94; GOOGLE-
23   00392181-82; GOOGLE-00392178-80; GOOGLE-02-00081462; GOOGLE-03-00075095;
24   GOOGLE-01-00029843-45; GOOGLE-01-00026813; GOOGLE-02-00018744; GOOGLE-01-
25   00025454; and GOOGLE-01-00023889.
26          BEGIN GOOGLE HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
27          Evidence of Google’s knowledge that the Java APIs are copyrighted, and of Google’s
28   decision to copy the Java platform technology anyway, despite its knowledge of the need for a
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                       19
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 22 of 35



 1   license to Sun’s (now Oracle) intellectual property rights can be found at, e.g., A. Rubin Dep. Ex.
 2   7; GOOGLE-01-00011470; GOOGLE-01-00019527; and GOOGLE-01-00018470.
 3          END GOOGLE HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY
 4          Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
 5   and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
 6   responses are based on the information reasonably available at this time and Oracle will
 7   supplement this response as appropriate under the Federal Rules of Civil Procedure.
 8   INTERROGATORY NO. 5:
 9          Identify with specificity all Android computer program code (or other materials) that
10   Oracle contends was directly copied from Oracle code (or other materials) and the Oracle code
11   (or other materials) from which Oracle contends the Android code or other materials were copied.
12   FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 5:
13           Android Application Programmer Interface (API) package specifications (whether or not
14   from the Apache Harmony project) that correspond to Oracle’s Java API specifications are
15   unauthorized derivative work, and Google’s unauthorized copying and distribution of them is
16   copyright infringement. A comparison of Android’s API package specifications (available at
17   http://developer.android.com/reference/packages.html) with Oracle’s copyrighted Java API
18   package specifications (for example, available at
19   http://download.oracle.com/javase/1.5.0/docs/api/,
20   http://download.oracle.com/javase/1.4.2/docs/api, and
21   http://download.oracle.com/javase/1.3/docs/api/) demonstrates that the following Android
22   package specifications are derived from or substantially similar to Oracle’s copyrighted Java API
23   package specifications:
24          1.      java.awt.font
25          2.      java.beans
26          3.      java.io
27          4.      java.lang
28          5.      java.lang.annotation
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                        20
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 23 of 35



 1         6.    java.lang.ref
 2         7.    java.lang.reflect
 3         8.    java.math
 4         9.    java.net
 5         10.   java.nio
 6         11.   java.nio.channels
 7         12.   java.nio.channels.spi
 8         13.   java.nio.charset
 9         14.   java.nio.charset.spi
10         15.   java.security
11         16.   java.security.acl
12         17.   java.security.cert
13         18.   java.security.interfaces
14         19.   java.security.spec
15         20.   java.sql
16         21.   java.text
17         22.   java.util
18         23.   java.util.jar
19         24.   java.util.logging
20         25.   java.util.prefs
21         26.   java.util.regex
22         27.   java.util.zip
23         28.   javax.crypto
24         29.   javax.crypto.interfaces
25         30.   javax.crypto.spec
26         31.   javax.net
27         32.   javax.net.ssl
28         33.   javax.security.auth
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10   21
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 24 of 35



 1           34.      javax.security.auth.callback
 2           35.      javax.security.auth.login
 3           36.      javax.security.auth.x500
 4           37.      javax.security.cert
 5           38.      javax.sql
 6           39.      javax.xml
 7           40.      javax.xml.datatype
 8           41.      javax.xml.namespace
 9           42.      javax.xml.parsers
10           43.      javax.xml.transform
11           44.      javax.xml.transform.dom
12           45.      javax.xml.transform.sax
13           46.      javax.xml.transform.stream
14           47.      javax.xml.validation
15           48.      javax.xml.xpath
16           Some Android package API specifications are substantially similar to selected portions of
17   some of the Oracle Java API package specifications (e.g., java.awt.font, java.beans) while other
18   Android package API specifications are substantially similar to complete portions of other Oracle
19   Java API package specifications (e.g., java.io, java.lang, java.net, java.nio, java.security, java.sql,
20   java.text).
21           The Android source and object code (whether or not from the Apache Harmony project)
22   that purports to implement Oracle’s Java API specifications is unauthorized derivative work, and
23   Google’s unauthorized copying and distribution of it is copyright infringement. See, e.g.,
24   Package Index (available at http://developer.android.com/reference/packages.html), including
25   those API packages listed above, and subsidiary webpages; and source code and documentation
26   files available in:12
27           12
                  Google continues to modify the source code available through http://android.git.kernel.org. Such changes
     are subject to the discovery Oracle has propounded on Google. In any event, the cited source code examples are
28                                                                                      (Footnote continues on next page.)
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                         22
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 25 of 35



 1   For Android 2.2 (“Froyo”):
 2            •        dalvik\libcore\security\src\main\java\java\security;
 3            •        dalvik\libcore\security\src\main\java\javax\security\cert;
 4            •        dalvik\libcore\security\src\main\java\org\apache\harmony\security;
 5            •        dalvik\libcore\math\src\main\java\java\math;
 6            •        dalvik\libcore\math\src\main\java\org\apache\harmony\math;
 7            •        dalvik\libcore\luni\src\main\java\java;
 8            •        dalvik\libcore\luni\src\main\java\org\apache\harmony\luni;
 9            •        dalvik\libcore\luni-kernel\src\main\java\java\lang;
10            •        dalvik\libcore\luni-kernel\src\main\java\org\apache\harmony\kernel;
11            •        dalvik\libcore\luni-kernel\src\main\java\org\apache\harmony\lang;
12            •        dalvik\libcore\nio\src\main\java\java.
13   For Android 2.3 (“Gingerbread”):
14            •        libcore\luni\src\main\java\java\security;
15            •        libcore\luni\src\main\java\javax\security\cert;
16            •        libcore\luni\\src\main\java\org\apache\harmony\security;
17            •        libcore\luni\src\main\java\java\math;
18            •        libcore\luni\src\main\java\java;
19            •        libcore\luni\src\main\java\org\apache\harmony\luni;
20            •        libcore\luni\src\main\java\java\lang;
21            •        libcore\luni\src\main\java\org\apache\harmony\kernel;
22            •        libcore\luni\src\main\java\org\apache\harmony\lang;
23            •        libcore\luni\src\main\java\java\nio.
24
     (Footnote continued from previous page.)
25   taken from http://android.git.kernel.org/. The citations are shortened and mirror the file paths shown in
     http://android.git.kernel.org/. For example, “dalvik\vm\native\InternalNative.c” maps to “[platform/dalvik.git] / vm /
26   native / InternalNative.c” (accessible at
     http://android.git.kernel.org/?p=platform/dalvik.git;a=blob;f=vm/native/InternalNative.c) before modification by
27   Google.

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     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                          23
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 26 of 35



 1          Google has created and distributed infringing works written in native code, in addition to
 2   Java code, that derive from Oracle’s copyrighted works. For example, Google makes and
 3   distributes dalvik\vm\native\java_lang_Class.c, which is based on Oracle’s java.lang.Class
 4   specification. Other examples include:
 5          •       dalvik\vm\native\java_lang_Object.c
 6          •       dalvik\vm\native\java_lang_reflect_AccessibleObject.c;
 7          •       dalvik\vm\native\java_lang_reflect_Array.c;
 8          •       dalvik\vm\native\java_lang_reflect_Constructor.c;
 9          •       dalvik\vm\native\java_lang_reflect_Field.c;
10          •       dalvik\vm\native\java_lang_reflect_Method.c;
11          •       dalvik\vm\native\java_lang_reflect_Proxy.c;
12          •       dalvik\vm\native\java_lang_Runtime.c;
13          •       dalvik\vm\native\java_lang_String.c;
14          •       dalvik\vm\native\java_lang_System.c;
15          •       dalvik\vm\native\java_lang_Throwable.c;
16          •       dalvik\vm\native\java_lang_VMClassLoader.c;
17          •       dalvik\vm\native\java_lang_VMThread.c; and
18          •       dalvik\vm\native\java_security_AccessController.c.
19          See also, e.g., source code files in libcore\luni\src\main\native; libcore\luni-
20   kernel\src\main\native.
21          Google has distributed by way of Android and Android-related websites source and object
22   code derived from or substantially similar to Oracle’s source code or to decompiled Oracle object
23   code, including:
24          •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Acl
25              EntryImpl.java (which is substantially similar to the result of decompiling Oracle’s
26              /sun/security/acl/AclEntryImpl.class)
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     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                         24
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 27 of 35



 1         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Acl
 2             Impl.java (which is substantially similar to the result of decompiling Oracle’s
 3             /sun/security/acl/AclImpl.class)
 4         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Gro
 5             upImpl.java (which is substantially similar to the result of decompiling Oracle’s
 6             /sun/security/acl/GroupImpl.class)
 7         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Ow
 8             nerImpl.java (which is substantially similar to the result of decompiling Oracle’s
 9             /sun/security/acl/OwnerImpl.class)
10         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Per
11             missionImpl.java (which is substantially similar to the result of decompiling Oracle’s
12             /sun/security/acl/PermissionImpl.class)
13         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Pri
14             ncipalImpl.java (which is substantially similar to the result of decompiling Oracle’s
15             /sun/security/acl/PrincipalImpl.class)
16         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/cert/Po
17             licyNodeImpl.java (which is substantially similar to the result of decompiling Oracle’s
18             /sun/security/acl/PolicyNodeImpl.class)
19         •   /dalvik/libcore/support/src/test/java/org/apache/harmony/security/tests/support/acl/Acl
20             Enumerator.java (which was obtained by decompiling Oracle’s
21             /sun/security/acl/AclEnumerator.class)
22         •   /dalvik/libcore/luni/src/main/java/java/util/TimSort.java contains a method,
23             rangeCheck, copied from Oracle’s java/util/Arrays.java
24         •   /dalvik/libcore/luni/src/main/java/java/util/ComparableTimSort.java contains a
25             method, rangeCheck, copied from Oracle’s java/util/Arrays.java
26         •   /dalvik/libcore/security/src/test/java/org/apache/harmony/security/tests/java/security/C
27             odeSourceTest.java contains comments copied from Oracle’s
28             /java/security/CodeSource.java
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                         25
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 28 of 35



 1           •    /dalvik/libcore/security/src/test/java/tests/security/cert/CollectionCertStoreParameters
 2                Test.java contains comments copied from Oracle’s
 3                /java/security/cert/CollectionCertStoreParameters.java
 4           Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
 5   and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
 6   responses are based on the information reasonably available at this time and Oracle will
 7   supplement this response as appropriate under the Federal Rules of Civil Procedure.
 8   INTERROGATORY NO. 6:
 9           State in detail Oracle’s factual bases for its contention that approximately one third of
10   Android’s Application Programmer Interface (API) packages (available at
11   http://developer.android.com/reference/packages.html) are derivative of Oracle America’s
12   copyrighted Java API packages (available at http://download-
13   llnw.oracle.com/javase/1.5.0/docs/api/ and http://download-
14   llnw.oracle.com/javase/1.4.2/docs/api/) and corresponding documents.
15   FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 6:
16           Forty-eight of Google’s Android API package specifications are derived from or
17   substantially similar to Oracle’s Java SE API package specifications, which is about one-third of
18   the total number of Android API package specifications.13 The list of packages includes:
19   java.awt.font, java.beans, java.io, java.lang, java.lang.annotation, java.lang.ref, java.lang.reflect,
20   java.math, java.net, java.nio, java.nio.channels, java.nio.channels.spi, java.nio.charset,
21   java.nio.charset.spi, java.security, java.security.acl, java.security.cert, java.security.interfaces,
22   java.security.spec, java.sql, java.text, java.util, java.util.jar, java.util.logging, java.util.prefs,
23   java.util.regex, java.util.zip, javax.crypto, javax.crypto.interfaces, javax.crypto.spec, javax.net,
24           13
                  It appears that Google may have modified its list of Android API packages (available at
     http://developer.android.com/reference/packages.html) after Oracle’s initial response to this interrogatory. In
25   particular, Google added packages to its Android APIs, totaling 154 (as of April 14, 2011), instead of 146 around the
     time Oracle amended its complaint. Still, approximately one-third of Android’s API packages (available at
26   http://developer.android.com/reference/packages.html) are duplicative of Oracle’s copyrighted Java API packages
     (available at http://download-llnw.oracle.com/javase/1.5.0/docs/api/ and http://download-
27   llnw.oracle.com/javase/1.4.2/docs/api/).

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     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                         26
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 29 of 35



 1   javax.net.ssl, javax.security.auth, javax.security.auth.callback, javax.security.auth.login,
 2   javax.security.auth.x500, javax.security.cert, javax.sql, javax.xml, javax.xml.datatype,
 3   javax.xml.namespace, javax.xml.parsers, javax.xml.transform, javax.xml.transform.dom,
 4   javax.xml.transform.sax, javax.xml.transform.stream, javax.xml.validation, and javax.xml.xpath.
 5           Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
 6   and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
 7   responses are based on the information reasonably available at this time and Oracle will
 8   supplement this response as appropriate under the Federal Rules of Civil Procedure.
 9   INTERROGATORY NO. 7:
10           State in detail Oracle’s factual bases for the allegation that users must copy and use
11   infringing Java class libraries, or works derived therefrom, to manufacture and use functioning
12   Android devices.
13   FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 7:
14           Factual bases for the allegation that users must copy and use infringing Java class
15   libraries, or works derived therefrom, to manufacture and use functioning Android devices
16   include:
17           •        Forty-eight of Google’s Android API package specifications are derived from or
18   substantially similar to Oracle’s Java SE API package specifications, which is about one-third of
19   the total number of Android API package specifications.14 The list of packages includes:
20   java.awt.font, java.beans, java.io, java.lang, java.lang.annotation, java.lang.ref, java.lang.reflect,
21   java.math, java.net, java.nio, java.nio.channels, java.nio.channels.spi, java.nio.charset,
22   java.nio.charset.spi, java.security, java.security.acl, java.security.cert, java.security.interfaces,
23   java.security.spec, java.sql, java.text, java.util, java.util.jar, java.util.logging, java.util.prefs,
24           14
                  It appears that Google may have modified its list of Android API packages (available at
     http://developer.android.com/reference/packages.html) after Oracle’s initial response to this interrogatory. In
25   particular, Google added packages to its Android APIs, totaling 154 (as of April 14, 2011), instead of 146 around the
     time Oracle amended its complaint. Still, approximately one-third of Android’s API packages (available at
26   http://developer.android.com/reference/packages.html) are duplicative of Oracle’s copyrighted Java API packages
     (available at http://download-llnw.oracle.com/javase/1.5.0/docs/api/ and http://download-
27   llnw.oracle.com/javase/1.4.2/docs/api/).

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     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                                         27
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 30 of 35



 1   java.util.regex, java.util.zip, javax.crypto, javax.crypto.interfaces, javax.crypto.spec, javax.net,
 2   javax.net.ssl, javax.security.auth, javax.security.auth.callback, javax.security.auth.login,
 3   javax.security.auth.x500, javax.security.cert, javax.sql, javax.xml, javax.xml.datatype,
 4   javax.xml.namespace, javax.xml.parsers, javax.xml.transform, javax.xml.transform.dom,
 5   javax.xml.transform.sax, javax.xml.transform.stream, javax.xml.validation, and javax.xml.xpath.
 6          •       Manufacturers of handsets and other Android devices copy compiled versions of
 7   the Java class libraries onto each Android device prior to distribution.
 8          •       Google’s Android SDK download page directed developers to copy the Java class
 9   libraries from the Apache Harmony project website.
10          •       Google’s Android source code and documentation demonstrate use of Java
11   Platform technologies. See, e.g., android.git.kernel.org; developer.android.com.
12          •       Manufacturers must execute Google’s Android Compatibility Test Suite (CTS),
13   which tests for the presence and correct functioning of Java class libraries, for Google to certify
14   their devices as “Android Compatible.”
15          Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
16   and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
17   responses are based on the information reasonably available at this time and Oracle will
18   supplement this response as appropriate under the Federal Rules of Civil Procedure.
19   INTERROGATORY NO. 8:
20          Identify with specificity all portions of the Java documentation that were automatically
21   generated using software and explain how each was generated.
22   RESPONSE TO INTERROGATORY NO. 8:
23          Generally, all Java API documentation is automatically generated using the Javadoc
24   software tool. Javadoc is a documentation generator developed by Sun Microsystems. Javadoc is
25   used to generate API documentation in HTML format from Java source code, based on
26   standardized tags and comments written by source code programmers. A Javadoc comment is set
27   off from source code by comment tags “/**” and “*/”. For example, the first paragraph in such a
28   comment may be a description of the method documented. Next, certain tags are used to signify
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                              28
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 31 of 35



 1   certain information (e.g., @param name description describes a method parameter, @return
 2   description describes a method return value, @throws describes an exception the method may
 3   throw).
 4             Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
 5   and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
 6   responses are based on the information reasonably available at this time and Oracle will
 7   supplement this response as appropriate under the Federal Rules of Civil Procedure.
 8   INTERROGATORY NO. 9:
 9             State in detail the terms of a fair, reasonable and non-discriminatory license to Oracle’s
10   TCK consistent with Oracle’s obligations under the Java Specification Participation Agreement,
11   including the bases of any computation of any monetary elements of such a license and an
12   explanation of why such a license is fair, reasonable and non-discriminatory.
13   FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 9:
14             The JSPA permits a Specification Lead to impose terms and conditions as part of a TCK
15   license. Any interested party may license the Spec Lead’s TCK under “non-discriminatory, fair
16   and reasonable” terms and conditions and “such terms and conditions shall be determined by the
17   Spec Lead in its reasonable discretion.” (JSPA, § 5.F.I.) Oracle’s TCK licenses comport with its
18   obligations under the JSPA, and, with respect to the terms of its TCK licenses, Oracle directs
19   Google to its TCK licenses produced in this action pursuant to Fed. R. Civ. P. 33(d).
20             As for the terms of any TCK license to Android, none has ever been requested, and Oracle
21   accordingly has never considered what reasonable terms or royalty computation of one might be.
22   Issuing a TCK license to Android makes no sense, given that Android does not implement the
23   entire Java specification and is accordingly not compliant.
24             During the Parties’ discovery conference on February 9, 2011, Google offered to revise
25   this interrogatory such that it seeks an explanation of how Java prices are determined by Oracle,
26   and Oracle agreed to answer the revised interrogatory. Oracle determines Java prices as follows:
27   Ed Washington, Principal Product Manager, reviews and determines appropriate prices based on
28   market information, which he receives from Oracle’s salespeople, product managers, and also on
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                              29
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 32 of 35



 1   his own knowledge and experience. He aims to set competitive and profitable prices. Mr.
 2   Washington has reviewed and determined Java prices since 2002, and Mr. Washington has been
 3   in JavaSoft sales since 1997. Java prices generally decline reasonably as market conditions
 4   evolve. New products are priced to be competitive and in line with market expectations based on
 5   how older products are priced. The price models Mr. Washington proposes are reviewed and
 6   approved by Oracle’s Vice President of Software Sales before implementation. Java prices were
 7   previously posted in Sun's internal web servers and are now posted on Oracle’s internal web
 8   servers. Oracle has already produced these documents in part. See OAGOOGLE0100067049-
 9   100067059 and OAGOOGLE0100067060-100067206.
10          In addition to the general objections stated above, Oracle further objects to this
11   interrogatory insofar as it seeks information protected from discovery by the attorney-client
12   privilege or the attorney work-product doctrine. Oracle further objects to this request on the
13   grounds that determinations of why or whether the terms of any license are fair, reasonable, and
14   non-discriminatory are purely matters of legal opinion and are therefore not within the scope of
15   inquiry permitted by Fed. R. Civ. P. 33(a)(2). Discovery is ongoing, and Oracle has not yet
16   completed its investigation of the documents and facts relevant to the claims and defenses
17   asserted in this action. Accordingly, Oracle’s responses are based on the information reasonably
18   available at this time and Oracle will supplement this response as appropriate under the Federal
19   Rules of Civil Procedure.
20   INTERROGATORY NO. 10:
21          State in detail Oracle’s factual bases for its allegation that the doctrine of assignor
22   estoppel bars Google from challenging the validity of each of the patents-in-suit to which Oracle
23   contends the doctrine applies.
24   FIRST SUPPLEMENTAL RESPONSE TO INTERROGATORY NO. 10:
25          Assignor estoppel bars Google from challenging the validity of any patent assigned by an
26   inventor with whom Google is in privity. Google hired named inventors of Oracle’s patents—
27   including at least Frank Yellin, co-inventor of the ’520 patent; Lars Bak and Robert Griesemer,
28   co-inventors of the ’205 patent; and James Gosling, the inventor of the ’104 patent—to work on
     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                          30
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 33 of 35



 1   Java, Web browser, and virtual machine technologies. Google is in the best position to know how
 2   it availed itself of the inventors’ knowledge and assistance. As the inventors’ employer, it is
 3   Google, not Oracle that possesses detailed information regarding the nature of the relationship
 4   with these and any of the other inventors of the patents-in-suit.
 5          Discovery is ongoing, and Oracle has not yet completed its investigation of the documents
 6   and facts relevant to the claims and defenses asserted in this action. Accordingly, Oracle’s
 7   responses are based on the information reasonably available at this time and Oracle will
 8   supplement this response as appropriate under the Federal Rules of Civil Procedure.
 9
     Dated: April 25, 2011                         MICHAEL A. JACOBS
10                                                 MARC DAVID PETERS
                                                   DANIEL P. MUINO
11                                                 MORRISON & FOERSTER LLP
12
                                                   By: /s/ Marc David Peters
13
                                                           Attorneys for Plaintiff
14                                                         ORACLE AMERICA, INC.
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     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                         31
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 34 of 35



 1                                    CERTIFICATE OF SERVICE
 2           I declare that I am employed with the law firm of Morrison & Foerster LLP, whose address
     is 755 Page Mill Road, Palo Alto, California 94304-1018. I am not a party to the within cause,
 3   and I am over the age of eighteen years.
 4          I further declare that on April 25, 2011, I served a copy of:
 5                  PLAINTIFF’S SUPPLEMENTAL RESPONSES TO
                    DEFENDANT’S INTERROGATORY NOS. 1-10
 6

 7
        :      BY ELECTRONIC SERVICE [Fed. Rule Civ. Proc. rule 5(b)] by electronically
               mailing a true and correct copy through Morrison & Foerster LLP's electronic mail
 8             system to the e-mail address(es) set forth below, or as stated on the attached service
 9             list per agreement in accordance with Federal Rules of Civil Procedure rule 5(b).

10
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     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                          32
     CASE NO. CV 10-03561 WHA
     pa- 1457069
     Case 3:10-cv-03561-WHA Document 924-4 Filed 04/15/12 Page 35 of 35



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13
            I declare under penalty of perjury under the laws of the United States that the foregoing is
14   true and correct.
15          Executed at Palo Alto, California, this 25th day of April, 2011.
16

17

18

19                 Marc David Peters                                /s/ Marc David Peters
                        (typed)                                          (signature)
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     PLAINTIFF’S SUPPLEMENTAL RESPONSES TO DEFENDANT’S INTERROGATORY NOS. 1-10                        33
     CASE NO. CV 10-03561 WHA
     pa- 1457069
